                                             ORDER/COVER SHEET

TO:            Honorable Donna M. Ryu                                 RE:     Daniel Romero
               U.S. Magistrate Judge

FROM:          Silvio Lugo, Chief                                     Docket No.:        5:20-mj-71227-MAG-1
               U.S. Pretrial Services Officer

Date:          5/3/21

        THE ATTACHED MEMORANDUM WAS PREPARED BY PRETRIAL SERVICES OFFICER:

         Gustavo Rangel                                                            (408) 535-5226

         U.S. Pretrial Services Officer                                      TELEPHONE NUMBER

We are requesting direction from the Court. Please initial the appropriate box(es), and return this form to us so that
we may comply with your instructions.

         I have reviewed the information that you have supplied. I do not believe that this matter requires any action
         by this Court at this time.

 X       Inform all parties concerned that I will conduct a Bail Review Hearing on Wednesday, 5/5/2021 at 10:00
         a.m. via Zoom video conference. Parties can find the static Zoom link to Judge Ryu's virtual Zoom
         courtroom at: https://cand.uscourts.gov/judges/ryu-donna-m-dmr/.
         Inform all parties concerned that a Bail Review Hearing will be conducted by:
         Magistrate Judge ____________________ Presiding District Court Judge ____________________

         I agree with the recommendation of the Pretrial Services Officer and hereby modify the defendant’s Pretrial
         Release conditions as indicated below:

         Modification(s)

         A.

         B.

         Bail Revoked/Bench Warrant Issued.

         I am returning the signed order and direct that a copy be provided to the Court file and all interested
         parties(AUSA and Defense Counsel).

         Other Instructions:

                  _________________________________________________________________________________

                  _________________________________________________________________________________


                                                               5/4/2021
         JUDICIAL OFFICER DONNA M. RYU                        DATE
                                  U.S. Magistrate Judge
